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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 GUN OWNERS OF AMERICA, INC.,
 et al.,

        Plaintiffs,                                Case No. 1:18-cv-1429

 v.                                                HONORABLE PAUL L. MALONEY

 MATTHEW WHITAKER, et al.,

        Defendants.
 ____________________________/


                ORDER DENYING MOTION TO BRING FIREARM INTO
                             COURTHOUSE FOR HEARING


       Pending before the Court is Plaintiffs' motion for order granting permission to bring

secured operable bumpstock firearm to the March 6, 2019 hearing (ECF No. 41). Upon due

consideration of the motion by the Court, the motion is DENIED.

       IT IS SO ORDERED.



Dated: March 4, 2019                                      /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         United States District Judge
